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UNITED STATES COURT OF INTERNATIONAL TRADE                                          FORM 1

  ALPINE CORPORATION

                                 Plaintiff,                          SUMMONS
          v.                                                         Court No.     25-00055


  UNITED STATES,
                                 Defendcint.           91

TO:     The Attorney General and the Secretary of Homeland Security:

       PLEASE TAKE NOTICE that a civil action has been commenced pursuant to 28
U.S.C. § 1581(a) to contest denial of the protest specified below (and the protests listed in the
attached schedule).
                                                       /s/ Mario Toscano
                                                       Clerk of the Court


                                                   PROTEST
 Port(s) of                                            Center (if known): CEE008
 Entry:        Los Angeles

 Protest                                               Date Protest Filed:        12/22/2022
                270422163714, etc.
 Number:
 Importer:     Alpine Corporation                      Date Protest Denied:        9/07/2024

 Category of      Pumps
 Merrhandicir

                          ENTRIES INVOLVED IN ABOVE PROTEST
     Entry             Date of             Date of           Entry            Date of            Date of
    Number              Entry            Liquidation        Number             Entry           Liquidation
 82088113160           2/11/2022         1/13/2023
      etc.                etc.              etc.                         .                 _
                   -                 -


                                                            Kayla Owens
                                                            Stein Shostak Shostak Pollack & O'Hara LLP
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                                                            Los Angeles, CA 90071
                                                            Tel: (213)630-8888 Email: kowens@steinshostak.com
                                                           Name, Address, Telephone Number
                                                           and E-mail Address of Plaintiffs Attorney
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                                                                                                          3    1-2
                            CONTESTED ADMINISTRATIVE DECISION
                                       Appraised Value of Merchandise
                                            Statutory Basis                             Statement of Value

  Appraised:




  Protest Claim:
                              I                                              I

                                        Classification, Rate or Amount
                                            Assessed                                    Protest Claim

     Merchandise          Tariff Classification            Rate             Tariff Classification            Rate


    Pumps                  8413.70.2004                      Free             8413.70.2004                Free
                           (9903.88.01)                      25%              (9903.88.67)              No 301 Tarif-



                                              Other
  State Specifically the Decision (as Described in 19 U.S.C. § 1514(a)] and the Protest Claim:
  Although the imported pumps are eligible for an exclusion under HTSUS 9903.88.67, Customs denied the
  claim for the importer's failure to substantiate the claim.

  The issue which was common to all such denied protests:
   Whether the imported pumps are eligible for an exclusion from additional duties imposed
   under §301.

Every denied protest included in this civil action was filed by the same above-named importer, or person authorized under
19 U.S.C. § 1514(c)(2). The category of merchandise specified above was involved in each entry of merchandise included
in every such denied protest. The issue or issues stated above were common to all such denied protests. All such protests
were filed and denied as prescribed by law. All liquidated duties, charges or exactions have been paid.

                                                                    /s/ Kayla Owens
                                                                  Signature of Plaintiffs Attorney
                                                                  March 5, 2025
                                                                    Date
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                                                                                                 3    1-3


                                                SCHEDULE OF PROTESTS
           CEE008
           Center (if known)



 Protest                   Date Protest     Date Protest   Entry         Date of         Date of        Port
 Number                    Filed            Denied         Number        Entry           Liquidation    Code
270422163714                   12/22/2022   9/7/2024       82088089501    10/18/2021     9/16/1011       2704
270422163714                   12/22/2022   9/7/2024       82088109317    2/1/2022       12/30/2022      2704
270422163714                   12/22/2022   9/7/2024       82088109580    2/1/2022       12/30/2022      2704
270422163714                   12/22/2022   9/7/2024       82088110463    2/1/2022       12/30/2022      2704
27042 2163714                  12/22/2022   9/7/2024       82088111578    2/6/2022       12/30/2022      2704
270422163714                   12/22/2022   9/7/2024       82088111586    2/6/2022       12/30/2022      2704
270422163714                   12/22/2022   9/7/2024       82088113046    2/11/2022      1/13/2023       2704
270422163714                   12/22/2022   9/7/2024       82088113095    2/11/2022      1/13/2023       2704
270422163714                   12/22/2022   9/7/2024       82088113160    2/11/2022      1/13/2023       2704
270422163714                   12/22/2022   9/7/2024       82088113202    2/10/2022      1/6/2023        2704
270422163714                   12/22/2022   9/7/2024       82088113475    2/10/2022      1/6/2023        2704
270422163718                   12/22/2022   9/7/2024       82088109382    2/1/2022       12/30/2022      2704
270422163718                   12/22/2022   9/7/2024       82088110919    2/7/2022       1/6/2023        2704
270422163718                   12/22/2022   9/7/2024       82088111131    2/2/2022       12/30/2022      2704
270422163718                   12/22/2022   9/7/2024       82088111149    2/2/2022       12/30/2022      2704
270422163718                   12/22/2022   9/7/2024       82088111156    2/2/2022       12/30/2022      2704
270422163718                   12/22/2022   9/7/2024       82088111222    2/2/2022       12/30/2022      2704
270422163718                   12/22/2022   9/7/2024       82088111495    2/4/2022       12/30/2022      2704
270422163718                   12/22/2022   9/7/2024       82088111594    2/7/2022       1/6/2023        2704
270422163718                   12/22/2022   9/7/2024       82088113038    2/11/2022      1/13/2023       2704
270422163718                   12/22/2022   9/7/2024       82088113640    2/10/2022      1/6/2023        2704




(As amended Sept. 30, 2003, eff. Jan. 1, 2004; Nov. 28, 2006, eff. Jan. 1, 2007; Dec. 7, 2010, eff. Jan. 1,
2011; July 17, 2017, eff. July 17, 2017; Oct. 25, 2017, eff. Oct. 25, 2017; June 22, 2021, eff. July 26, 2021.)
